Case 12-13117-RLM-13         Doc 91     Filed 03/29/18     EOD 03/29/18 12:48:06         Pg 1 of 4




                         UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT DISTRICT OF IN
                              INDIANAPOLIS DIVISION

In re: DAVID ROBERT OFLYNN                   §       Case No. 12-13117
       PAMELA SUE OFLYNN                     §
                                             §
             Debtor(s)                       §
        CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT


Ann M. Delaney, Chapter 13 Trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C § 1302(b)(1). The Trustee declares as follows:

       1) The case was filed on 11/06/2012.

       2) The plan was confirmed on 10/07/2013.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C § 1329 on
          06/03/2014, 08/27/2014.

       4) The Trustee filed action to remedy default by the debtor(s) in performance under the
          plan on 07/06/2013, 04/12/2014.

       5) The case was completed on 12/27/2017.

       6) Number of months from filing or conversion to last payment: 61.

       7) Number of months case was pending: 64.

       8) Total value of assets abandoned by court order: NA.

       9) Total value of assets exempted: $38,183.00.

       10) Amount of unsecured claims discharged without full payment: $21,492.80.

       11) All checks distributed by the Trustee relating to this case have cleared the bank.




UST Form 101-13-FR-S (9/1/2009)
Case 12-13117-RLM-13         Doc 91    Filed 03/29/18     EOD 03/29/18 12:48:06         Pg 2 of 4




Receipts:
      Total paid by or on behalf of the debtor(s)            $ 67,447.62
      Less amount refunded to debtor(s)                         $ 611.00
NET RECEIPTS                                                                      $ 66,836.62



Expenses of Administration:

       Attorney's Fees Paid Through the Plan                  $ 3,300.00
       Court Costs                                              $ 148.33
       Trustee Expenses & Compensation                        $ 3,702.67
       Other                                                       $ 0.00

TOTAL EXPENSES OF ADMINISTRATION                                                   $ 7,151.00

Attorney fees paid and disclosed by debtor(s):                  $ 700.00



Scheduled Creditors:
Creditor                                        Claim        Claim        Claim    Principal     Interest
Name                          Class         Scheduled     Asserted     Allowed         Paid         Paid
TOM SCOTT & ASSOCIATES        Lgl            4,000.00     3,300.00     3,300.00    3,300.00         0.00
OCWEN LOAN SERVICING LLC      Con                0.00         0.00    32,655.16   32,655.16         0.00
OCWEN LOAN SERVICING LLC      Sec           38,975.00    35,347.18     3,406.84    3,406.84         0.00
THE HUNTINGTON NATIONAL       Sec              900.00       896.72       896.72      896.72        84.16
SPRINGLEAF FINANCIAL SERVICES Sec            7,899.15     8,184.07     8,184.07    8,184.07     1,191.24
WEINSTEIN AND RILEY, PS       Uns                0.00     2,780.30     2,780.30      704.72         0.00
WELLS FARGO                   Sec          155,600.00   150,419.33   150,419.33        0.00         0.00
KOMYATTE & CASBON, P.C.       Uns                0.00     3,100.96     3,100.96      786.00         0.00
LVNV FUNDING LLC SUCCESSORS Uns                  0.00     8,064.59     8,064.59    2,044.13         0.00
RMP/COLLECTION ASSOCIATES.,   Uns                0.00     2,618.85     2,618.85      663.79         0.00
RESURGENT ACQUISITION LLC     Uns                0.00     8,718.33     8,718.33    2,209.82         0.00
IMC CREDIT SERVICES           Uns                0.00       650.09       650.09      164.78         0.00
RECOVERY MANAGEMENT           Uns                0.00     2,383.71     2,383.71      604.19         0.00
SPRINGLEAF FINANCIAL SERVICES Sec                0.00     3,009.44     3,009.44    2,526.38       355.04
INDIANA DEPT OF REVENUE (N-R) Pri                0.00     3,561.98     3,088.59    3,088.59         0.00
INDIANA DEPT OF REVENUE (N-R) Uns                0.00         0.00       473.39      119.99         0.00
ANN M DELANEY, NOTICING COSTS Adm                0.00         0.00         0.00      148.33         0.00




UST Form 101-13-FR-S (9/1/2009)
Case 12-13117-RLM-13         Doc 91   Filed 03/29/18    EOD 03/29/18 12:48:06   Pg 3 of 4




Summary of Disbursements to Creditors:

                                              Claim              Principal         Interest
                                              Allowed            Paid              Paid
Secured Payments:
      Mortgage Ongoing                       $ 32,655.16        $ 32,655.16             $ 0.00
      Mortgage Arrearage                       $ 2,280.80        $ 2,280.80             $ 0.00
      Debt Secured by Vehicle                  $ 3,906.16        $ 3,423.10          $ 439.20
      All Other Secured                     $ 159,729.44         $ 9,310.11        $ 1,191.24
TOTAL SECURED:                              $ 198,571.56        $ 47,669.17        $ 1,630.44

Priority Unsecured Payments:
        Domestic Support Arrearage                 $ 0.00             $ 0.00           $ 0.00
        Domestic Support Ongoing                   $ 0.00             $ 0.00           $ 0.00
        All Other Priority                    $ 3,088.59         $ 3,088.59            $ 0.00
TOTAL PRIORITY:                               $ 3,088.59         $ 3,088.59            $ 0.00

GENERAL UNSECURED PAYMENTS:                  $ 28,790.22         $ 7,297.42            $ 0.00



Disbursements:

       Expenses of Administration             $ 7,151.00
       Disbursements to Creditors            $ 59,685.62

TOTAL DISBURSEMENTS:                                            $ 66,836.62




UST Form 101-13-FR-S (9/1/2009)
Case 12-13117-RLM-13           Doc 91      Filed 03/29/18      EOD 03/29/18 12:48:06          Pg 4 of 4




        12) The Trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the Trustee is responsible have been completed. The Trustee
requests a final decree be entered that discharges the Trustee and grants such other relief as may
be just and proper.




Date: 03/29/2018                        By: /s/Ann M. DeLaney
                                                Trustee

STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
